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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                                                           2ith FEB   28 Mt
                                  AUSTIN DIVISION

FLOSPORTS, INC.,                            §
                     PLAINTIFF,             §
                                            §      CAUSE NO. A-17-CV-1043-LY
I!,                                         §

                                            §
WWN, INC.,                                  §
                     DEFENDANT.             §


                                    FINAL JUDGMENT

       Before the court is the above entitled cause. On this date, the court signed the parties'

Agreed Order of Mutual Dismissal with Prejudice. Accordingly, the court renders the following

Final Judgment pursuant to Federal Rule of Civil Procedure 58.

       IT IS HEREBY ORDERED that the case is CLOSED.

       SIGNED this                 day of February, 2018.




                                                TED ST      ES DI TRICT JUDGE
